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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA

    UNITED STATES OF AMERICA,                                      CIVIL ACTION
        Plaintiff

    VERSUS                                                         NO. 12-1924

    CITY OF NEW ORLEANS,                                           SECTION: “E”
        Defendant


                                          ORDER

        On June 9, 2020, Movant Gary Juengain filed a Second Motion for Intervention.1

On June 10, 2020, the Court denied this motion as untimely, explaining:

        This action was filed on July 24, 2012 and has been pending for nearly eight
        years. Movant filed this motion on June 9, 2020. The deadline to file a
        motion to intervene was August 7, 2012. 2

        After issuing the order denying as untimely Movant’s Second Motion for

Intervention, the Court received a Third Motion for Intervention filed by Movant.3

Movant apparently filed this third motion in support of his Second Motion for

Intervention. As previously stated, the Court has already denied Movant’s Second Motion

for Intervention as untimely. 4 Accordingly;

        IT IS ORDERED that Movant’s Third Motion for Intervention is DENIED AS

MOOT.

        New Orleans, Louisiana, this 11th day of June, 2019.

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                                                      SUSIE MORGAN
                                               UNITED STATES DISTRICT JUDGE



1 R. Doc. 586.
2 R. Doc. 587 at 1 (citations omitted).
3 R. Doc. 589.
4 R. Doc. 587.
